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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA
________________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                             Court File No. 17-cv-136 (PAM/FLN)

KLEINBANK,

                    Defendant.

________________________________________________________________________

    DEFENDANT’S STATEMENT INSTEAD OF REDACTED DOCUMENT
________________________________________________________________________

      KleinBank files this Statement instead of Redacted Document with respect to its

Sealed Objections to the Sealed Report and Recommendation. The entire Report and

Recommendation was issued under seal. See Doc. No. 51. It is impractical to redact the

Objections, which pertain to and heavily reference the sealed Report and

Recommendation, under these circumstances. See D. Minn. L.R. 5.6(d)(1)(A)(ii). If the

Court decides that the Objections should be unsealed, KleinBank respectfully requests the

opportunity to submitted a redacted version of the Objections with references to the

FDIC’s examinations redacted since those documents are confidential pursuant to 12

C.F.R. §§ 309.5(g) and 309.6(a).
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Dated: February 27, 2018                s/ John W. Lundquist
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